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                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT

      SOUTH CAROLINA STATE PORTS             )
      AUTHORITY                              )
                                             )
                              Petitioner     )    Case No. 23-1059
                                             )
                   and                       )
                                             )
     THE STATE OF SOUTH CAROLINA;            )
     UNITED STATES MARITIME                  )
     ALLIANCE, LTD.                          )
                                             )
                              Intervenors    )
                                             )
                    v.                       )
                                             )
                                             )
     NATIONAL LABOR RELATIONS BOARD )
                                             )
                              Respondent     )
                                             )
                  and                        )
                                             )
     INTERNATIONAL LONGSHOREMEN’S            )
     ASSOCIATION, LOCAL 1422;                )
     INTERNATIONAL LONGSHOREMEN’S            )
     ASSOCIATION                             )
                                             )
                              Intervenors    )
            _______________________________________________________

                        JOINT BRIEFING PROPOSAL
              OF THE NATIONAL LABOR RELATIONS BOARD AND
        INTERVENORS INTERNATIONAL LONGSHOREMEN’S ASSOCIATION
       AND INTERNATIONAL LONGSHOREMEN’S ASSOCIATION, LOCAL 1422
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      To the Honorable, the Judges of the United States
       Court of Appeals for the Fourth Circuit:

            The National Labor Relations Board, by its Deputy Associate General Counsel,

      respectfully submits this joint briefing proposal on behalf of the Board and Intervenors

      International Longshoremen’s Association (“ILA”) and International Longshoremen’s

      Association, Local 1422 (“Local 1422”). In support of the joint proposal, the Board

      shows as follows:

            1. This case is before the Court on the petition of South Carolina State Ports

      Authority (“SCSPA”) to review a Board Order issued on December 16, 2022, in

      International Longshoremen’s Association, AFL-CIO, CLC, 372 NLRB No. 86. In its

      Order, the Board dismissed two unfair-labor-practice allegations—one alleging that

      ILA, Local 1422, and the United States Maritime Alliance, Ltd. (“USMX”) violated

      Section 8(e) of the National Labor Relations Act, 29 U.S.C. § 158(e), and the other

      alleging that ILA violated Section 8(b)(4)(ii)(A) and (B) of the Act, 29 U.S.C. §

      158(b)(4)(ii)(A) and (B). 372 NLRB No. 86, slip op. at 3-4.

            2. The Board proceeding with respect to the Section 8(e) allegation was initiated

      by charging parties SCSPA and the State of South Carolina (“the State”).

            3. The Board proceeding with respect to the Section 8(b)(4)(ii)(A) and (B)

      allegations was initiated by charging parties SCSPA, the State, and USMX.




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             4. ILA was a charged party and respondent as to all of the allegations below.

      Meanwhile, Local 1422 and USMX were also charged parties and respondents, but only

      as to the Section 8(e) allegation.

             5. The Court has granted Intervenor status to the State, USMX, ILA, and Local

      1422, all of whom participated in the underlying Board proceedings.

             6. In its February 7, 2023 motion to intervene, USMX noted its dual role as a

      charging party and respondent in the underlying Board proceedings and specifically

      requested “leave to file a separate brief, if necessary, after SCSPA and the NLRB have

      filed their respective initial briefs but before SCSPA has filed its reply brief.” USMX

      Mot. to Intervene at 3 ¶ 11. ILA and the Board did not consent to USMX’s unilateral

      request for a particular briefing arrangement. Thereafter, on February 8, 2023, the

      Court directed the parties “to file a proposed briefing schedule, including proposed

      length limitations,” to be adopted for purposes of the current appeal.

             7. Pursuant to the Court’s order, the Board, ILA, and Local 1422 submit the

      following joint proposal:

         •   April 10, 2023: SCSPA’s opening brief due
                        Word limit: 13,000 words


         •   April 24, 2023: Separate intervenor briefs due for the State and USMX
             (in support of SCSPA)
                        Word limit: 9,100 words (for each brief)


         •   May 24, 2023: Board’s answering brief due
                       Word limit: 13,000 words



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         •      June 7, 2023: Separate intervenor briefs due for ILA, Local 1422, and USMX
                (in support of the Board)
                           Word limit: 9,100 words (for each brief)


         •      June 21, 2023: SCSPA reply brief due
                           Word limit: 6,500 words
                8. The foregoing proposed schedule allows Board counsel adequate time to

      diligently prepare the Board’s brief in the instant case given Board counsel’s busy

      schedule preparing and reviewing briefs in the already-pending appeals discussed in the

      Board’s Opposition to SCSPA’s Motion to Expedite. Board Opp. to Motion to Expedite

      at 5-6.

                9. The foregoing proposed schedule is also consistent with Federal Rule of

      Appellate Procedure 15.1, which establishes the default rule that parties adverse to the

      Board “must proceed first on briefing and at oral argument.”

                10. The Board has circulated the above proposal to all parties in this appeal. ILA

      and Local 1422 have indicated they join the proposal. USMX has indicated it will

      accept the proposal provided it is clear—as in paragraph 7 above—that USMX will

      have the opportunity to potentially file two briefs, given its unique position as both a

      charging party and respondent below. SCSPA has indicated that it disagrees with the

      above proposal (and it believes that the State does, too) and intends to file its own

      proposal.




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            WHEREFORE, the Board, ILA, and Local 1422 respectfully request that the

      Court adopt their joint briefing proposal described at paragraph 7 above.

                                            Respectfully submitted,


                                            /s/ Ruth Burdick
                                            Ruth Burdick
                                            Deputy Associate General Counsel
                                            National Labor Relations Board
                                            1015 Half Street, SE
                                            Washington DC 20570
                                            (202) 273-2960

      Dated at Washington, DC
      this 15th day of February 2023




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        ASSOCIATION                             )
                                                )
                                 Intervenors    )
             _______________________________________________________
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                                CERTIFICATE OF SERVICE

              I hereby certify that on February 15, 2023, I electronically filed the
        foregoing with the Clerk of the Court for the United States Court of Appeals for
        the Fourth Circuit by using the appellate CM/ECF system. I further certify that
        this document was served on all parties or their counsel of record through the
        CM/ECF system.
                                         /s/ Ruth E. Burdick
                                         Ruth E. Burdick
                                         Deputy Associate General Counsel
                                         NATIONAL LABOR RELATIONS BOARD
                                         1015 Half Street, SE
                                         Washington, DC 20570
                                         (202) 273-2960

        Dated at Washington, DC
        this 15th day of February 2023
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        ASSOCIATION                             )
                                                )
                                 Intervenors    )
             _______________________________________________________
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                              CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure 32(g)(1), the Board

        certifies that its document contains 700 words of proportionally-spaced,

        14-point type, and the word processing system used was Microsoft Word 2016.

                                         /s/ Ruth E. Burdick
                                         Ruth E. Burdick
                                         Deputy Associate General Counsel
                                         NATIONAL LABOR RELATIONS BOARD
                                         1015 Half Street, SE
                                         Washington, DC 20570
                                         (202) 273-2960

        Dated at Washington, DC
        this 15th day of February 2023
